Case 1:18-cv-00986-TSE-IDD Document 1-1 Filed 08/09/18 Page 1 of 3 PageID# 7




                             Exhibit A
Case 1:18-cv-00986-TSE-IDD Document 1-1 Filed 08/09/18 Page 2 of 3 PageID# 8




     July 03, 2018


     Gumwand Inc.
     c/o Dunnegan & Scileppi LLC
     William Dunnegan
     350 Fifth Avenue
     Suite 4908
     New York, NY 10118


     RE: Gumwand Inc. v. jared brading


     File Number: FA1806001794058


     Dear Sir/Madam:


     The above referenced domain name complaint has been received by the FORUM and the above
     file number assigned. However, in reviewing your complaint FORUM has identified the following
     deficiencies:


     ▪   Please amend your Complaint header and Section 4 to identify the Respondent and its
         contact information according to the information provided by the Registrar for the disputed
         domain name:

                                 jared brading
                                 69 wych lane
                                 Gosport, gosport
                                 PO13 0TA
                                 GB

                                 +44.1329505332
                                 jared@pinstripepeople.com


     In order for the FORUM to proceed with the arbitration of this case, you are required to rectify the
     deficiencies within 5 calendar days from the date of this notification, or the complaint will be



     P.O. Box 50191, Minneapolis, MN 55405-0191 • Tel: 800-474-2371 • Fax: 612-235-3355 • www.adrforum.com
     Federal Express Address: 6465 Wayzata Blvd., Suite 500, Minneapolis, MN 55426
Case 1:18-cv-00986-TSE-IDD Document 1-1 Filed 08/09/18 Page 3 of 3 PageID# 9




     dismissed without prejudice as required by ICANN’s UDRP Rule 4(d). Please have all corrected
     documents emailed back to your case coordinator.


     If more than 5 calendar days are needed to correct deficiencies, FORUM Supplemental Rule
     12(a) provides for withdrawal and reinstatement within 30 calendar days, subject to a
     reinstatement fee. Please note that a request to withdraw under Supp. Rule 12(a)(i) must be
     received by the FORUM before the end of the 5 day deficiency period.


     Please do not hesitate to contact us if you have any questions.


     Sincerely,




     Jonathan J
     Case Coordinator
